                                                                              Motion GRANTED.
                                                                              Hearing reset for
                           UNITED STATES DISTRICT COURT                       3/29/13 at 1:30 p.m.
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION
  UNITED STATES OF AMERICA

  V                                                      Case No. 3:10-cr-00064
                                                         JUDGE TRAUGER
  DUANTEZ CORNELL JENKINS,
                Defendant




                      MOTION TO RESCHEDULE PLEA HEARING
         A plea hearing has been scheduled in this case for 3/26/2013 at 3:30 p.m.

  Because of a sickness in my family that needs my attention, I respectfully ask the court to

  reschedule this hearing and to set it at a time convenient for the court on Thursday,

  March 28, 2013 or Friday, March 29, 2013. My preference would be the latter date.


                                                       Respectfully submitted,
                                                         /s/ Joseph F. Edwards
                                                       Joseph F. Edwards
                                                       Attorney & Counselor at Law
                                                       1957 Benson Road
                                                       Cookeville, TN 38506
                                                       931-537-9154
                                                       jedwardsjd@frontiernet.net
                                                       Date: 3/25/13


  Certificate of Service: I certify that a copy of this motion to reschedule plea hearing
  will be served upon all counsel of record upon the filing of this motion by the electronic
  case management system this date, March 25, 2013.

                                                       /s/ Joseph F. Edwards




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